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   8                     UNITED STATES DISTRICT COURT
   9                   CENTRAL DISTRICT OF CALIFORNIA
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  11   ERIC ANDREW WARFIELD,                   Case No. CV 19-10949-DSF (PD)
  12                     Petitioner,
                                               JUDGMENT
  13         v.
  14   SCOTT FRAUENHEIM, Warden,
  15                     Respondent.
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  17        Pursuant to the Court’s Order Accepting the Report and
       Recommendation of United States Magistrate Judge,
  18
            IT IS ADJUDGED that the Petition is dismissed with prejudice.
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  21   DATED: January 12, 2021
  22                                     Honorable Dale S. Fischer
                                         UNITED STATES DISTRICT JUDGE
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